Case 2:21-cv-00587-MWF-PLA Document 19 Filed 04/26/21 Page 1 of 2 Page ID #:339

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                       JS-6
                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-587 MWF (PLAx)                                     Date: April 26, 2021
 Title       J. Clark v. Rita Gail Farris-Ellison, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                  Not Present                                         Not Present

 Proceedings: (IN CHAMBERS) ORDER DISMISSING ACTION WITHOUT
              PREJUDICE

       Plaintiff filed this action on December 10, 2020, in Los Angeles County
 Superior Court. (Notice of Removal (“NoR”), Ex. A, Complaint (Docket No. 1-
 1)). Defendant Flagstar Bank, FSB (“Flagstar”) removed the action on January 21,
 2021. (NoR (Docket No. 1)). No other Defendants joined in or consented to the
 removal because Plaintiff had not served any Defendants with a copy of the
 Summons and Complaint. (See Flagstar’s Response to Order to Show Cause
 (“OSC Response”) at 1 (Docket No. 13)).

        On February 16, 2021, the Court issued an Order to Show Cause directing
 Plaintiff to file proofs of service of all Defendants on or before March 10, 2021
 (the “OSC”). (Docket No. 12). The Court explained that Plaintiff’s failure to file
 the proofs of service by March 10, 2021, would result in the dismissal of this
 action without prejudice pursuant to Federal Rule of Civil Procedure 4(m). (Id.).
 On March 15, 2021, the Court sua sponte extended the deadline for Plaintiff to
 respond to the OSC to April 21, 2021. (Docket Nos. 14, 18). To date, Plaintiff has
 not filed any proofs of service. (See Docket).

       To avoid dismissal under Rule 4(m), Plaintiff was required to serve all
 Defendants by April 21, 2021. See Vasquez v. N. Cty. Transit Dist., 292 F.3d
 1049, 1053 (9th Cir. 2002) (citing 28 U.S.C. § 1448 and noting that the ninety-day


 CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 2
Case 2:21-cv-00587-MWF-PLA Document 19 Filed 04/26/21 Page 2 of 2 Page ID #:340

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No.        CV 21-587 MWF (PLAx)                            Date: April 26, 2021
 Title       J. Clark v. Rita Gail Farris-Ellison, et al.

 clock for purposes of Rule 4(m) resets with removal). Plaintiff has neither
 demonstrated that he has served all Defendants nor requested an extension of time
 to serve Defendants.

      Accordingly, the action is DISMISSED without prejudice for failure to
 comply with Rule 4(m).

       This Order shall constitute notice of entry of judgment pursuant to Federal
 Rule of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the
 Clerk to treat this Order, and its entry on the docket, as an entry of judgment.

         IT IS SO ORDERED.




 CV-90 (03/15)                         Civil Minutes – General                    Page 2 of 2
